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Counsel for the Plaintiff,
Howard M. Ehrenberg in his capacity
as Liquidating Trustee of Orion Healthcorp, Inc., et al.,

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                                                 :
    In re:                                                                       :   Chapter 11
                                                                                 :
    ORION HEALTHCORP, INC.1                                                      :   Case No. 18-71748 (AST)
                                                                                 :
                                             Debtors.                            :   (Jointly Administered)
                                                                                 :
                                                                                 :
    HOWARD M. EHRENBERG IN HIS CAPACITY AS                                       :
    LIQUIDATING TRUSTEE OF ORION HEALTHCORP, INC.,                               :   Adv. Pro. No. 20-_____ (AST)
    ET AL.,                                                                      :
                                                                                 :
                                             Plaintiff,                          :
                                                                                 :
    v.                                                                           :
                                                                                 :
    ELENA SARTISON; 2 RIVER TERRACE APARTMENT 12J,                               :
    LLC; CLODAGH BOWYER GREENE A/K/A CLODAGH                                     :
    BOWYER; ELLIOTT GREENE,                                                      :
                                                                                 :
                                             Defendants.

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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 303, Middletown, NJ 07748.


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                 COMPLAINT FOR AVOIDANCE AND RECOVERY
     OF: (1) FRAUDULENT TRANSFERS; (2) TURNOVER OF PROPERTY OF THE
            ESTATE; AND (3) RECOVERY OF AVOIDED TRANSFERS; AND
    (4) DECLARATORY RELIEF PURSUANT TO 11 U.S.C. §§ 542, 544, 548 AND 550

                 Plaintiff, Howard M. Ehrenberg in his capacity as Liquidating Trustee of Orion

Healthcorp, Inc., et al., (the “Plaintiff” or the “Liquidating Trustee”), for the estates of the

above-captioned debtors in the above-captioned cases pending under chapter 11 of title 11 of the

United States Code (the “Bankruptcy Code”), by and through its undersigned counsel, as and for

its Complaint for Avoidance and Recovery of Fraudulent Transfers, Turnover Of Property Of

The Estate; Recovery of Avoided Transfers and Declaratory Relief Pursuant to 11 U.S.C. §§ 542,

544, 548 and 550 (the “Complaint”) against the above-captioned defendants (the “Defendants”),

alleges as follows:

                                               THE PARTIES

                 1.          Plaintiff is the Liquidating Trustee under that certain Liquidating Trust

Agreement by and among Orion HealthCorp, Inc., Constellation Healthcare Technologies, Inc.

and certain of their affiliates.

                 2.          Upon information and belief, Defendant Elena Sartison (“Sartison”) is an

individual currently residing in the State of New York.

                 3.          Upon information and belief, Defendant 2 River Terrace Apartment 12J,

LLC. is a limited liability company formed under the laws of the State of New York ( “River

Terrace LLC”).

                 4.          Upon information and belief, Defendant Elliott Greene (“Greene”) is an

individual currently residing in the States of California and/or New York. Upon information and

belief, at all relevant times herein, Defendant Greene was the brother of Mitch Greene an




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attorney with the law firm of Robinson, Brog, Leinwand, Greene, Genovese & Gluck

(“Robinson Brog”).

                 5.          Upon information and belief, Defendant Clodagh Bowyer Greene

(“Bowyer”) is an individual currently residing in the States of California and/or New York.

Upon information and belief, at all relevant times herein Bowyer was the spouse of Defendant

Greene.

                                                STANDING

                 6.          On March 16, 2018, each of the Debtors except New York Network

Management, LLC (“NYNM”) filed a voluntary petition with the United States Bankruptcy

Court for the Eastern District of New York (the “Bankruptcy Court”) under chapter 11 of the

Bankruptcy Code and NYNM commenced its voluntary petition on July 5, 2018 (collectively,

the “Debtors”). The Debtors’ cases are jointly administered for administrative purposes only

[Docket Nos. 34 and 381].

                 7.          On February 26, 2019, the Honorable Alan S. Trust, United States

Bankruptcy Judge for the Eastern District of New York, entered an order (the “Confirmation

Order”) [Docket No. 701] confirming the Debtors’ Third Amended Joint Plan Of Liquidation

(the “Plan”).

                 8.          The Plan provides, among other things, for the formation of the

Liquidating Trust and the appointment of the Liquidating Trustee on the Effective Date (as that

term is defined in the Plan) to oversee distributions to holders of Allowed Claims and Allowed

Interests and to pursue retained Causes of Action of the Debtor's Estates. The Effective Date

occurred on March 1, 2019.




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                 9.          The Plan provides that the Liquidating Trustee shall have the authority and

responsibility to, among other things, receive, manage, invest, supervise, and protect the

Liquidating Trust Assets, including causes of action.

                                      JURISDICTION AND VENUE

                 10.         The Bankruptcy Court has jurisdiction over this adversary proceeding

under the Bankruptcy Code pursuant to 28 U.S.C. §§ 157(a) and 1334(a).

                 11.         This proceeding is a core proceeding within the meaning of 28 U.S.C.

§ 157(b) and the Bankruptcy Court may enter final orders for the matters contained herein.

                 12.         Pursuant to Local Bankruptcy Rule 7008-1, the Plaintiff affirms his

consent to the entry of final orders or judgments by the Bankruptcy Court if it is determined that

the Bankruptcy Court, absent consent of the Parties, cannot enter final orders or judgments

consistent with Article III of the United States Constitution.

                 13.         Venue in this District is proper pursuant to 28 U.S.C. §§ 1408 and

1409(a).

                                   BASIS FOR RELIEF REQUESTED

                 14.         This adversary proceeding is initiated pursuant to Rules 7001(1), (2) and

(9) and 3007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) to avoid

and recover, pursuant to sections 542, 544, 548, 550, and 551 of the Bankruptcy Code and

sections 273, 274, 275 and 276 of the New York Debtor & Creditor Law (the “NY Debt &

Cred L”), made applicable herein pursuant to section 544 of the Bankruptcy Code, certain

avoidable transfers that were made by the Debtors to the Defendant prior to the Petition Date.

                                                   FACTS

                 15.         The Debtors are a consolidated enterprise of several companies aggregated

through a series of acquisitions, which operate the following businesses: (a) outsourced revenue



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cycle management for physician practices, (b) physician practice management, (c) group

purchasing services for physician practices, and (d) an independent practice association business,

which is organized and directed by physicians in private practice to negotiate contracts with

insurance companies on their behalf while such physicians remain independent and which also

provides other services to such physician practices.

                 16.         Parmjit Parmar a/k/a Paul Parmar ("Parmar"), was the former Chief

Executive Officer of the Debtor, Constellation Healthcare Technologies, Inc. ("CHT"), Sotirios

Zaharis, a/k/a Sam Zaharis ("Zaharis"), was the former Chief Financial Officer of CHT, and Ravi

Chivukula (“Chivukula”) was the Controller and Secretary of CHT from approximately 2013 to

2017. Parmar, Zaharis and Chivukula served on the board of directors of CHT. Parmar, Zaharis

and Chivukula, in combination with one another and with others, operating through various

Debtors, moved money and established off-balance sheet accounts to redirect monies of the

Debtors for their own personal use. The Debtor, and the aforementioned associates, utilized a

Wells Fargo IOLA account overseen by the law firm of Robinson Brog. Upon information and

belief, Robinson Brog also represented Parmar, Zaharis and Chivukula personally in their

business, litigation and private affairs.

                 17.         On or about 2018, Parmar, Zaharis and Chivukula were indicted by the

United States Attorney’s Office, District of New Jersey, for creating fictitious business entities,

balance sheets, doctored bank statements, fabricating customers as well as generating fake

income streams, and sham acquisitions in an effort to divert monies from the Debtor. As alleged,

Parmar, Zaharis and Chivukula diverted funds to enrich themselves, their friends, family and

associates.




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A.      The Real Estate Transaction:

                 18.         On or about February 19, 2016, Parmar with the assistance of Zaharis and

Chivukula, wrongfully caused funds of the Debtor, Constellation Healthcare Technologies, LLC.

to be misappropriated to purchase the real property located at 2 River Terrace, Apt. 12J, New

York, N.Y. ( the “Condominium Unit”).

                 19.         Defendants Greene and Bowyer were identified as the sellers, and

Defendant River Terrace, LLC, the purchaser with a stated purchase price of $5,450,000. Upon

information and belief, the identity of the true purchaser, Parmar, was known by Robinson Brog

and specifically Mitchell Greene who was privy to the discussion involving the Condominium

Unit acquisition. Robinson Brog assisted Parmar to transfer the funds and to obfuscate the fact

Parmar would be personally utilizing the Condominium Unit. Defendant River Terrace, LLC.

was fabricated specifically for the acquisition of the Condominium Unit, without a legitimate

business purpose, and for the personal benefit of others than the Debtors.

                 20.         On February 19, 2016, the Debtor, Constellation Healthcare Technologies,

LLC paid $4,967,226.74 to Defendants Greene and Bowyer as set forth in particular on

Exhibit “A” (the “Transfer”).

                 21.         Upon information and belief, Defendant Sartison is/was the girlfriend of

Parmar. Defendant Sartison held no formal position with the Debtor. Upon misappropriating

the funds of the Debtors for the purchase of the Condominium Unit, Parmar and/or Defendant

Sartison occupied the Condominium Unit without compensation to the Debtor.

B.      Spending Spree:

                 22.         Between March 16, 2016 to March 15, 2018, Debtor Constellation

Healthcare Technologies, Inc. (“CHT”) made transfers to the Defendant Sartison in the amount

of $97,737.42 (the “Card Transfer”), within the two years of the filing of the petition date,



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including the specific transfers reflected on Exhibit “B”, which is incorporated by reference. The

Card Transfer was made for the benefit of some person or entity other than CHT, such that CHT

received no consideration in exchange for the Card Transfer. As evidenced by the attached

Exhibit “B”, Defendant purchased personal and luxury items such as jewelry, equestrian club

services, vacations and other luxury items which CHT paid.

                                 FIRST CLAIM FOR RELIEF
           (For Avoidance and Recovery of Intentionally Fraudulent Transfers Under
            11 U.S.C. § 548 and NY Debt & Cred L § 276 Against Defendant Sartison)

                 23.         Plaintiff repeats and realleges the allegations contained in each preceding

paragraph of the Complaint as though set forth fully herein.

                 24.         The Defendant received the Card Transfer totaling $97,737.42 from the

Debtors.

                 25.         The Card Transfer was made by the Debtors with actual intent to hinder or

delay or defraud their creditors insofar as the Card Transfer was concealed and orchestrated

through a scheme to divert and redirect monies of the Debtor for the personal benefit of Parmar

and his friends and associates.

                 26.         The Card Transfer was made to or for the benefit of Defendant.

                 27.         Accordingly, the Card Transfer is avoidable, and should be avoided, as

intentionally fraudulent transfers pursuant to § 548(a)(1)(A) and NY Debt & Cred L § 276, and

may be recovered from Defendant pursuant to § 548 and the NY Debt & Cred L. Plaintiff is

entitled to an order and judgment under 11 U.S.C. § 544 that the Card Transfer be avoided.




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                             SECOND CLAIM FOR RELIEF
          (To Avoid Constructively Fraudulent Transfers Under 11 U.S.C. §§ 544(b)
                and 548(a)(1)(B) and NY Debt & Cred L §§ 273-275, et seq.,
                               Against Defendant Sartison)

                 28.         Plaintiff realleges and incorporates by reference each and every allegation

in the above paragraphs, as though fully set forth herein.

                 29.         Plaintiff is informed and believes, and thereon asserts that at all relevant

times, the Debtors: (a) were insolvent, or became insolvent as a result of the Card Transfer;

(b) were engaged in or were about to engage in a business or a transaction for which their

remaining assets were unreasonably small in relation to the business or transaction; or

(c) intended to incur, or believed or reasonably should have believed that they would incur, debts

beyond their ability to pay as they became due; or (d) made such Card Transfer to or for the

benefit of an insider or for the benefit of an insider, under an employment contract and not in the

ordinary course of business.

                 30.         Plaintiff is informed and believes, and thereon asserts, that Defendant did

not give the Debtors, and the Debtors did not otherwise receive, reasonably equivalent value for

obligations incurred for the Card Transfer. As a result, the Debtors paid and received in value

nothing from Defendant.

                 31.         At all relevant times, the Card Transfer was avoidable pursuant to

11 U.S.C. § 548(a)(1)(B) and NY Debt & Cred L. Plaintiff is entitled to an order and judgment

that the Transfer is avoided.

                               THIRD CLAIM FOR RELIEF
              (For Avoidance and Recovery of Intentionally Fraudulent Transfers
                 Under 11 U.S.C. § 544 and NY Debt & Cred L § 276 Against
                    Defendants River Terrace, LLC, Greene and Bowyer)

                 32.         Plaintiff repeats and realleges the allegations contained in each preceding

paragraph of the Complaint as though set forth fully herein.



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                 33.         The aforementioned Defendants received the Transfer totaling not less

than $4,967,226.74, from the Debtors. Plaintiff reserves the right to amend the complaint to

include the balance of the purchase price should it be determined the Debtors’ funds were

utilized for the down payment. Defendants are on notice of such amounts.

                 34.         The Transfer was made by the Debtors with actual intent to hinder or

delay or defraud their creditors insofar as the Transfer was concealed and orchestrated through a

scheme to divert and redirect monies of the Debtors for the personal benefit of Parmar and his

friends and associates.

                 35.         The Transfer was made to or for the benefit of Defendants. Accordingly,

the Transfer is avoidable, and should be avoided, as intentionally fraudulent transfers pursuant to

§ 544(b) and NY Debt & Cred L § 276, and may be recovered from Defendants pursuant to

§ 544 and the NY Debt & Cred L. Plaintiff is entitled to an order and judgment under 11 U.S.C.

§ 544 that the Transfer be avoided.

                             FOURTH CLAIM FOR RELIEF
                   (To Avoid Constructively Fraudulent Transfers Under
       11 U.S.C. §§ 544(b) and 548(a)(1)(B) and NY Debt & Cred L §§ 273-275, et seq.,
               Against Defendants River Terrace, LLC, Greene and Bowyer)

                 36.         Plaintiff realleges and incorporates by reference each and every allegation

in the above paragraphs, as though fully set forth herein.

                 37.         The aforementioned Defendants received the Transfer totaling not less

than $4,967,226.74, from the Debtors. Plaintiff reserves the right to amend the complaint to

include the balance of the purchase price should it be determined the Debtors’ funds were

utilized for the down payment. Defendants are on notice of such amounts.

                 38.         Plaintiff is informed and believes, and thereon asserts that at all relevant

times, the Debtors: (a) were insolvent, or became insolvent as a result of the Transfer; (b) were

engaged in or were about to engage in a business or a transaction for which their remaining


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assets were unreasonably small in relation to the business or transaction; or (c) intended to incur,

or believed or reasonably should have believed that they would incur, debts beyond their ability

to pay as they became due; or (d) made such Transfer to or for the benefit of an insider or for the

benefit of an insider, under an employment contract and not in the ordinary course of business.

                 39.         Plaintiff is informed and believes, and thereon asserts, that the

aforementioned Defendants did not give the Debtors, and the Debtors did not otherwise receive,

reasonably equivalent value for obligations incurred for the Transfer. As a result, the Debtors

paid and received in value nothing from Defendants.

                 40.         At all relevant times, the Transfer was avoidable pursuant to 11 U.S.C.

§ 544(b) and NY Debt & Cred L. Plaintiff is entitled to an order and judgment that the Transfer

is avoided.

                                 FIFTH CLAIM FOR RELIEF
                  (For Turnover of Property of the Estate Under 11 U.S.C. § 542
                            Against Defendant River Terrace, LLC)

                 41.         Plaintiff repeats and realleges the allegations contained in each preceding

paragraph of the Complaint as though set forth fully herein.

                 42.         Upon the commencement of the Debtors’ bankruptcy cases, the estate

succeeded to the rights to the property of the estate as defined in 11 U.S.C. § 541.

                 43.         Pursuant to 11 U.S.C. §542, Plaintiff is entitled to turnover of the

Condominium Unit transferred to Defendant River Terrace, LLC, or the proceeds thereof, as

identified in particular on Exhibit “A”.

                                 SIXTH CLAIM FOR RELIEF
                   (For Recovery of Property -- 11 U.S.C. §§ 544(b) and 550 and
                           NY Debt & Cred L Against All Defendants )

                 44.         Plaintiff repeats and realleges the allegations contained in each preceding

paragraph of the Complaint as though set forth fully herein.



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                 45.         As the Defendants are the initial, immediate or mediate transferees of the

Transfer, Plaintiff may recover for the benefit of the estate the property transferred or the value

of such property from (a) the initial transferee of such transfer or the entity for whose such

transfer was made or (b) any immediate or mediate transferee of such initial transferee pursuant

to pursuant to 11 U.S.C. § 550(a).

                 46.         As alleged above, Plaintiff is entitled to avoid the Transfers under 11

U.S.C. §§ 542, 544, and 548. As Defendants are the initial, immediate or mediate transferees of

the Transfers, Plaintiff is entitled to receive for the Estate the proceeds or value of the Transfers

under 11 U.S.C. § 550 of the Bankruptcy Code and NY Debt & Cred L.

                               SEVENTH CLAIM FOR RELIEF
                 (For Declaratory Relief Against Defendant River Terrace, LLC)

                 47.         Plaintiff repeats and realleges the allegations contained in each preceding

paragraph of the Complaint as though set forth fully herein.

                 48.         By reason of the fact that the Condominium Unit acquisition and the

Transfer was an intentionally or constructively fraudulent transfer and/or avoidable preferential

transfer, and are avoidable, Plaintiff asserts an ownership right in the Transfer identified on

Exhibit “A” superior to that of Defendants, such that Plaintiff’s interest should be free and clear

of all other interests.

                 49.         Plaintiff is informed and believes and thereon asserts that others may

assert an interest in these funds or the Condominium Unit.

                 50.         By reason of the conflicting assertions by Plaintiff and the Defendants, a

justiciable controversy exists between the Parties such that the issuance of declaratory relief is

appropriate and warranted.




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                 51.         Plaintiff seeks a declaration that it is the true owner of the Transfer and/or

the Condominium Unit, and the Transfer to Defendants, should be avoided and/or property

returned to the Plaintiff.



                 WHEREFORE, Plaintiff prays for judgment as follows:

                             a.     For a determination that the Card Transfers are avoidable

fraudulent transfers under 11 U.S.C. §§ 544, and 548, of the Bankruptcy Code and Sections

273-276 of NY Debt & Cred L, et seq., as applicable, and that the Plaintiff is entitled to recover

the Card Transfers under 11 U.S.C. § 550 of the Bankruptcy Code;

                             b.     For a determination that the Transfer was a fraudulent conveyance

under 11 U.S.C. §§ 544(b) and pursuant to sections NY Debt & Cred L. §§ 273, 274, and 275,

and that Plaintiff is entitled to recover the Transfer, or the value thereof, under applicable federal

and New York state law;

                             c.     For a Declaration from this Court that property as identified as

2 River Terrace, Apt. 12J, New York, NY, in the possession, custody or control of River Terrace,

LLC, is avoided, and property of the Debtor, and is to be immediately returned.

                             d.     For Turnover of the Debtors’ property located at 2 River Terrace,

Apt. 12J, New York, NY, pursuant to 11 U.S.C. § 542;

                             e.     Awarding to the Plaintiff the costs of suit incurred herein,

including pre- and post-judgment interest; and




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                             f.   For such other and further relief as the Court may deem just and

proper.

Dated: New York, New York
       March 13, 2020

                                                     /s/ Ilan D. Scharf_________________________
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                                                  Jeffrey P. Nolan, Esquire
                                                  PACHULSKI STANG ZIEHL & JONES LLP
                                                  780 Third Avenue, 36th Floor
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                                                  Counsel for the Plaintiff,
                                                  Howard M. Ehrenberg in his capacity
                                                  as Liquidating Trustee of Orion Healthcorp, Inc.,
                                                  et al.,




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                                           SERVICE LIST


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